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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

TIANA HILL, individually and as         )
MOTHER and next friend of baby D.H. her )
minor child,                            )
                                        )
      Plaintiffs,                       )
                                        )          CIVIL ACTION FILE NO.:
v.                                      )          1:21-CV-05300-TWT
                                        )
CLAYTON COUNTY GEORGIA, ET AL. )
                                        )
      Defendants.                       )
                                        )

 REPLY BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                   PLAINTIFF’S COMPLAINT

           I.    ARGUMENT AND CITATION OF AUTHORITY

A.    Plaintiff’s Untimely Response Renders Defendants’ Motion Unopposed

      The local rules provide that a response to a motion shall be filed “not later

than fourteen (14) days after service of the motion” and that “[f]ailure to file a

response shall indicate that there is no opposition to the motion.”   See LR 7.1B,

NDGa. The Eleventh Circuit has affirmed a district court’s decision to grant a

motion as “unopposed” when the plaintiff “fil[ed] an untimely response, [and] did
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not seek an extension of time or leave to file his response late.” Simon v. Kroger

Co., 743 F.2d 1544, 1547 (11th Cir. 1984).1

      Here, defendants’ motion to dismiss was filed on January 25, 2022. (Doc. 3-

1.) Plaintiff’s deadline to file any response in opposition expired fourteen days

thereafter or on February 8, 2022. See LR 7.1B, NDGa. Plaintiff filed her

response on February 14, 2022, nearly one week after the expiration of the

deadline and did not seek an extension of time or leave to do so. See Fed. R. Civ.

P. 6(b). Therefore, defendants’ motion to dismiss should be granted as unopposed.

B.    The Clayton County Board Of Commissioners Is Not An Entity
      Capable Of Being Sued

      In their initial brief, defendants established that the “Clayton County Board

of Commissioners” is subject to dismissal because it is not an entity capable of

being sued. (Doc. 3-1, pp. 4-6.) Defendants cited multiple cases from the Georgia

Supreme Court and Court of Appeals in support, including a detailed discussion of

Smith v. Bulloch Cnty. Bd. of Comm’rs, 261 Ga. App. 667, 583 S.E.2d 475

(2003). (Id.) In her response, plaintiff makes no attempt to address any of the

cases cited by defendants. (Doc. 10-1, pp. 6-8.) Not only does plaintiff ignore the


1
  See also Irvin v. Smith, No. CV 604-024, 2005 WL 1863279, at *1 (S.D. Ga.
May 24, 2005) (finding a summary judgment motion to be unopposed due to an
untimely response by pro se plaintiff) (citing Loren v. Sasser, 309 F.3d 1296, 1304
(11th Cir. 2002)); Irvin v. Smith, No. CV 604-024, 2005 WL 1863279, at *1 (S.D.
Ga. May 24, 2005) (citing Pilgrim v. Littlefield, 92 F.3d 413, 416 (6th Cir. 1996)
(affirming district court’s decision to disregard late filings from pro se prisoners).
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cases, plaintiff also cites no cases to support her contention that the “Clayton

County Board…is liable for the acts of Clayton County.” (Id.) Plaintiff simply

outlines the “powers and duties” of the Board of Commissioners set forth on the

Clayton County website, but there is nothing contained therein that circumvents

Georgia statutory law setting forth that only the County itself is given the power

under state law to sue and be sued, plead and implead in courts, and do all such

other acts relating to its capacity as a body corporate.2 See O.C.G.A. § 36-1-3. In

sum, plaintiff has named Clayton County as a defendant and so there is no

independent basis to name “Clayton County Board of Commissioners” as an

additional defendant. The Board is not a proper defendant to this action and should

be dismissed. See Smith, 261 Ga. App. at 667, 583 S.E.2d at 475.

C.    No Viable Claims Against John Doe Defendants

      Defendants established in their initial brief that “John Does” are subject to

dismissal because “fictitious party practice is not permitted in federal court.” New

v. Sports & Rec., 114 F.3d 1092, 1094 n. 1 (11th Cir. 1997). (Doc. 3-1, p. 6.)

Plaintiff fails to address New v. Sports & Rec. in her response brief. (Doc. 10-1,


2
   Defendants object to the Court’s consideration of the exhibit attached to
plaintiff’s response or any allegations raised in the response that are not contained
in the complaint. “When evaluating a motion to dismiss under Rule 12(b)(6), the
Court cannot consider matters outside of the pleadings, and must accept the
allegations of the non-movant’s pleadings as true[.]” Huling v. Franklin Collection
Serv., Inc., 2016 WL 4803196, at *2 (N.D. Ga. Sept. 13, 2016).

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pp. 8-9.) Rather, plaintiff cites to a District Court of Connecticut decision and a

Ninth Circuit opinion that applied California law and contends that she can

proceed against a John Doe defendant when a federal court is sitting in diversity

jurisdiction. (Doc. 10-1, pp. 8-9.) However, this Court’s jurisdiction is based on

federal question not diversity, because plaintiff has brought claims under the

United States Constitution. (Doc. 1.) Moreover, plaintiff alleges that she is a

Georgia resident/citizen and does not allege that any of the defendants are citizens

of a different state. (Id.) This Court is not sitting in diversity jurisdiction. The

fictitious parties, therefore, should be dismissed.

D.    Plaintiff’s Claims Against Clayton County Are Subject to Dismissal

      1.     Federal Claims Are Subject To Dismissal For Failure To State A
             Claim Under Monell

      In their initial brief, defendants established that plaintiff’s federal claims

against Clayton Country are subject to dismissal because plaintiff does not allege

that any of her constitutional rights were violated by anyone employed by the

County. (Doc. 3-1, pp. 6-9.) Defendants also established that even if plaintiff has

alleged a substantive violation, plaintiff still fails to allege sufficient facts to

establish liability under Monell. (Id.) This is because plaintiff fails to allege

through factual allegations any specific policy or custom of the County that was

the moving force behind any constitutional violations, and this isolated incident is



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insufficient to establish a custom or policy for purposes of liability under Section

1983. (Id.)

      In her response, plaintiff cites to her complaint’s references to “jailers and

jail administrators, and agents,” however, nowhere in plaintiff’s complaint does

she allege that any of her constitutional rights were violated by anyone employed

by the County. (Doc. 10-1, p. 10.) As set forth in the initial brief, any jailer at the

CCJ would be employed by the Sheriff, who as plaintiff admits is the supervisor

over the CCJ. See Gilbert v. Richardson, 264 Ga. 744, 754, 452 S.E.2d 476, 484

(1994). Plaintiff also admits that it is the Sheriff who is “responsible for the daily

operation of the jail which includes establishing and maintaining policies and

procedures.” (Doc. 10-1. p. 17.) In sum, jailers are employees of the Sheriff not

the County.

      Next, while plaintiff recognizes the standard under Monell and its progeny,

plaintiff fails to rebut defendants’ arguments that her complaint does not allege any

specific policy or custom of the County that was the moving force behind any

constitutional violations. (Doc. 10-1, pp. 11-15.) Plaintiff baldly contends that the

County had “responsibilities and customs,” but she fails to identify factually and

with specificity any of the County’s policies or customs, how they constituted

deliberate indifference, or how they caused any of the alleged constitutional

violations in this case. (Id., p. 14.) Plaintiff again cites to the powers and duties


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set forth on the Clayton County website, which provides that the Board can

exercise “control and management over the inmates of said county.” However,

even if the Court considers this website, which is outside of the pleadings, nothing

on the website shows a custom or policy of the County that caused the alleged

constitutional violations in this case.

        Finally, plaintiff baldly contends that there have been over seventy “§ 1983

allegations brought against the defendant’s [sic]” in what appears to be an effort to

establish a practice of civil rights violations.     (Doc. 10-1, p. 15.)     However,

plaintiff offers no context as to these seventy “allegations” and they appear

nowhere in the complaint. Moreover, plaintiff doesn’t contend that any of these

prior allegations, whatever they are, have resulted in any finding that anyone’s

constitutional rights have been violated by a custom or practice of the County.

Plaintiff’s general and conclusory remark is insufficient to establish a “pattern of

similar constitutional violations” for purposes of liability under Monell. See, e.g.,

Watkins v. Wilson, 824 F. App’x 938, 941 (11th Cir. 2020) (“a plaintiff ordinarily

must show a pattern of similar constitutional violations by untrained employees

because [w]ithout notice that a course of training is deficient in a particular respect,

decisionmakers can hardly be said to have deliberately chosen a training program

that will cause violations of constitutional rights.”) (emphasis added). See also

Hawk v. Klaetsch, 522 Fed. Appx. 733 (11th Cir. 2013) (“We fail to see how three


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incidents over the span of nearly five years can constitute frequent, widespread, or

rampant abuse.”). For all of these reasons, plaintiff’s Section 1983 claims against

the County must be dismissed.

      2.    State Law Claims Barred By Sovereign Immunity

      In their initial brief, defendants established that plaintiff’s state law claims

against the County are barred by sovereign immunity and that there is no

legislative enactment in Georgia that waives this immunity under the

circumstances alleged in this case.     (Doc. 3-1, p. 10.)     In response, plaintiff

contends that her state law claims are covered by supplemental jurisdiction. (Doc.

10-1, pp. 15-16.) Plaintiff, however, does not address the County’s entitlement to

sovereign immunity whatsoever.       (Id.)   Therefore, the Court should find that

plaintiff fails to meet his burden to establish a waiver of sovereign immunity.

Spalding Cnty. v. Blanchard, 275 Ga. App. 448, 448, 620 S.E.2d 659, 660 (2005).

Alternatively, the Court should find that plaintiff has abandoned her state law

claims against the County. See Gore v. Jacobs Eng’g Grp., 706 F. App’x 981, 986

(11th Cir. 2017) (a plaintiff’s “failure to brief and argue [an] issue during the

proceedings before the district court is grounds for finding that the issue has been

abandoned.”).




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E.    Plaintiff’s Claims Against Sheriff Hill In His Official Capacity Are
      Subject To Dismissal3

      Defendants established in their initial brief that plaintiff’s Section 1983 and

state law claims against Sheriff Hill in his official capacity are barred by Eleventh

Amendment and sovereign immunity. (Doc. 3-1, pp. 11-13.) Plaintiff does not

address the Eleventh Amendment or sovereign immunity whatsoever in her

response. (Doc. 10-1, pp. 17-19.) Therefore, the Court should find that Sheriff

Hill’s entitlement to Eleventh Amendment and sovereign immunity is unopposed.

Hooper v. City of Montgomery, 482 F. Supp. 2d 1330, 1334 (M.D. Ala. 2007)

(concluding that a plaintiff’s failure to respond to claims in a defendant’s motion to

dismiss resulted in dismissal of those claims as abandoned); Kramer v. Gwinnett

County, Ga., 306 F. Supp. 2d 1219, 1221 (N.D. Ga. 2004) (“[A] party’s failure to

respond to any portion or claim in a motion indicates such portion, claim or

defense is unopposed.”) (emphasis added); Hudson v. Norfolk Southern Ry. Co.,

209 F. Supp. 2d 1301, 1324 (N.D. Ga. 2001) (providing that “[w]hen a party fails

to respond to an argument or otherwise address a claim, the Court deems such

argument or claim abandoned”); cf. LR 7.1B (“Failure to file a response shall

indicate that there is no opposition to the motion.”).



3
 Sheriff Hill waived service of the summons and complaint in this action, and an
executed waiver has been delivered to opposing counsel. Therefore, the Court has
personal jurisdiction over Sheriff Hill.
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      To the extent plaintiff contends that O.C.G.A. § 15-16-24 operates as a

waiver of the Sheriff’s sovereign immunity, plaintiff’s contention is misguided.

That statute establishes the prerequisites for collecting under a sheriff's bond and

does not provide a separate source of liability. Pelka v. Ware Cty., No. CV 516-

108, 2017 U.S. Dist. LEXIS 161259, at *15 n.3 (S.D. Ga. Sep. 29, 2017). There is

no legislative enactment in Georgia that waives sovereign immunity under the

circumstances alleged in this case. Therefore, plaintiff’s claims against Sheriff Hill

in his official capacity are barred by Eleventh Amendment and sovereign

immunity.

F.    Plaintiff’s Claims Against Sheriff Hill In His Individual Capacity Are
      Subject To Dismissal

      1.     Federal Claims Barred By Qualified Immunity

      Defendants established in their initial brief that plaintiff’s Section 1983

claims against Sheriff Hill in his individual capacity are barred by qualified

immunity because plaintiff fails to allege an underlying constitutional violation by

any Sheriff employee, a constitutional violation by Sheriff Hill, or any causal

connection between any actions of the Sheriff and any constitutional violations in

this case, and plaintiff cannot meet her burden to show a violation of clearly

established law. (Doc. 3-1, pp. 13-20.)

      In response, plaintiff does not refute the fact that she has alleged no

constitutional violations by any Sheriff employee or by the Sheriff himself. (Doc.
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10-1, pp. 17-19.) Plaintiff seeks to establish liability against the Sheriff merely

because she contends that he “was responsible for the daily operation of the jail

which includes establishing and maintaining policies and procedures.” (Doc. 10-1.

p. 17.) However, plaintiff cannot hold the Sheriff liable under Section 1983 based

on vicarious liability or respondeat superior. Amnesty Int’l, USA v. Battle, 559

F.3d 1170, 1180 (11th Cir. 2009). Moreover, the fact that the Sheriff has policies

and procedures is insufficient in and of itself to establish liability. Plaintiff must

allege that the policies resulted in a deliberate indifference to plaintiff’s

constitutional rights. Plaintiff fails to do so, and therefore, fails to establish a

causal connection for purposes of supervisory liability.

      Additionally, the Sheriff is entitled to qualified immunity because plaintiff

fails to meet her burden of showing a violation of clearly established law. Crosby

v. Monroe Cnty., 394 F.3d 1328, 1332 (11th Cir. 2004). In 2017, the Supreme

Court observed:

             Today, it is again necessary to reiterate the longstanding
             principle that “clearly established law” should not be
             defined at a high level of generality. As this Court
             explained decades ago, the clearly established law must
             be “particularized” to the facts of the case. Otherwise,
             plaintiffs would be able to convert the rule of qualified
             immunity into a rule of virtually unqualified liability
             simply by alleging violation of extremely abstract rights.

White v. Pauly, 137 S. Ct. 548, 552 (2017). The Eleventh Circuit repeated this

important principle in Gaines v. Wardynski, 871 F.3d 1203, 1207 (11th Cir. 2017),
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wherein the Eleventh Circuit reversed a district court for defining “clearly

established law” at too high a level of generality.

        In an attempt to meet her burden, plaintiff cites to Farmer v. Brennan, 511

U.S. 825 (1994); Helling v. McKinney, 509 U.S. 25 (1993); and Gold v. City of

Miami, 151 F.3d 1346 (11th Cir. 1998) with very little case discussion or analysis.

(Doc. 10-1, p. 19.) Plaintiff merely offers general quotes with no discussion about

the particular facts of each case compared to the allegations by plaintiff in this

case.    (Id.)    Nevertheless, none of these cases resemble, even remotely, the

allegations and claims involved in this case. Therefore, they are each inapposite

and plaintiff fails to meet her burden to overcome the Sheriff’s qualified immunity.

        2.       State Law Claims Barred By Official Immunity

        Finally, in their initial brief, defendants established that plaintiff’s state law

claims against Sheriff Hill in his individual capacity are barred by official

immunity because the complaint allegations establish that he was at all times

performing discretionary functions without actual malice. (Doc. 3-1, pp. 20-23.)

Plaintiff offers no response in opposition to this argument.               (Doc. 10-1.)

Therefore, the Court should find that Sheriff Hill’s entitlement to official immunity

is unopposed. Hooper, 482 F. Supp. 2d at 1334; Kramer, 306 F. Supp. 2d at 1221;

Hudson, 209 F. Supp. 2d at 1324 LR 7.1B.




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                              II.   CONCLUSION

      As shown above, as well as in defendants’ initial brief, plaintiff’s complaint

should be dismissed.

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                     CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to Local Rule 7.1(D), that the foregoing

memorandum of law has been prepared in accordance with Local Rule 5.1(C)

(Times New Roman font, 14 point).

      This 28th day of February, 2022.

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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the foregoing

REPLY BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

PLAINTIFF’S COMPLAINT to the Clerk of Court using the CM/ECF system

which will automatically send electronic mail notification of such filing to counsel

of record who are CM/ECF participants:

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      This 28th day of February, 2022.

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